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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  EL DORADO DIVISION


HORTICA–FLORISTS’ MUTUAL
INSURANCE COMPANY                                                                  PLAINTIFF


VS.                                   CASE NO. 07-cv-1119


PITTMAN NURSERY CORPORATION,
DONNA SUE PITTMAN KING,
PITTMAN PROPERTIES LIMITED PARTNERSHIP #1,
DAWOOD AYDANI, BILL FEAZELL, trustee of a certain
voting trust conferring in trust upon him all of the shares of
Pittman Nursery Corporation and on behalf of himself and all
other stockholders of Pittman Nursery Corporation,
D&M PITTMAN, INC., ARCELIA MONTIZE,
EVENCIO GARCIA, AGUSTIN GARCIA GONZALEZ,
MICKEY H. PITTMAN, and JOHN-MICHAEL HUNTER                                          DEFENDANTS

                                              ORDER

       Before the Court is Separate Defendant, Dawood Aydani’s Motion to Dismiss Plaintiff’s

Second Amended Complaint filed on March 9, 2009. (Doc. 78). Plaintiff, Hortica-Florists’ Mutual

Insurance Company responded. (Doc. 85). The Court finds the matter ripe for consideration.

                                         BACKGROUND

       On June 27, 2007, Mr. Aydani filed suit against Pittman Nursery Corporation in the Circuit

Court of Columbia County, Arkansas. Plaintiff denied coverage on the first count, but agreed to

defend Pittman Nursery on the remaining counts in the Aydani Litigation.1 On December 26, 2007,

Plaintiff filed the present declaratory action. The Aydani Litigation settled, and was dismissed with

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          Mr. Aydani’s complaint alleged that he was owed certain commissions pursuant to a
January 1, 1989 agreement, that he was wrongfully terminated for failure to support Pittman
Nursery’s position regarding payments of leases, that Pittman Nursery had violated the Arkansas
Deceptive Trade Practices Act, and that Pittman Nursery had tortiously interfered with his 18%
interest in Pittman Properties Limited Partnership #1.
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prejudice by the Circuit Court of Columbia County, Arkansas on January 29, 2008.2 Because the

Aydani Litigation was settled, Mr. Aydani seeks to be dismissed from this declaratory action.

                                     STANDARD OF REVIEW

        The Court assumes that all facts in a complaint are true when considering a motion to

dismiss. Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163,

164, 113 S. Ct. 1160, 122 L. Ed. 2d 517 (1993). While the Court assumes the facts in a complaint

are true, it is free to ignore “sweeping legal conclusions” and “unwarranted inferences.” Wiles v.

Capitol Indem. Corp., 280 F.3d 868, 870 (8th Cir. 2002). When evaluating a complaint, its legal

sufficiency may be considered, but not the weight of the evidence supporting it. Id. This Court will

dismiss a complaint only if the plaintiff has not proffered “enough facts to state a claim to relief that

is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167

L. Ed. 2d (2007).

                                            DISCUSSION

        Mr. Aydani claims in his Motion to Dismiss that Plaintiff’s Second Amended Complaint

must be dismissed because there exists no “justiciable controversy” under Article III of the

Constitution regarding insurance-coverage issues that Hortica seeks to litigate.              Plaintiff’s

declaratory action is brought pursuant to the Federal Declaratory Judgment Act, which requires a

“case of actual controversy.” 28 U.S.C. § 2201. The Supreme Court has explained that the phrase

“case of actual controversy” in the Declaratory Judgment Act refers to the type of cases and




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         See Doc. No. 78-1, Dawood Aydani v. Pittman Nursery Corporation, Case # CV-2007-
107-4, in the Circuit Court of Columbia County, Arkansas, Civil Division.

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controversies referred to in Article III of the Constitution.3 MedImmune, Inc. v. Genentech, Inc., 549

U.S. 118, 126, 127 S.Ct. 764, 770, 166 L.Ed.2d 604 (2007). Therefore, the issue before this Court

is whether Plaintiff’s Second Amended Complaint has presented an “actual controversy” between

Plaintiff and Mr. Aydani. A case of actual controversy exists if “the facts alleged, under all the

circumstances, show that there is a substantial controversy, between parties having adverse legal

interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.”

Maryland Cas. Co. v. Pacific Coal & Oil Co., 312 U.S. 270, 273, 61 S.Ct. 510, 512, 85 L.Ed. 826

(1941).

          Mr. Aydani asserts that the separate case between himself and Pittman Nursery has been

settled and dismissed with prejudice; therefore, there is no way to obtain damages against Pittman

Nursery’s insurance coverage, thus there is no case or controversy between Plaintiff and Mr. Aydani.

Plaintiff asserts that there is a case or controversy because Mr. Aydani could potentially file a direct

action pursuant to Arkansas Code section 23-89-101, forcing Plaintiff to relitigate the coverage under

Pittman Nursery’s insurance policy. Plaintiff also alleges that they are unaware of the terms of the

settlement agreement between Mr. Aydani and Pittman Nursery and whether that agreement released

Mr. Aydani’s potential claims against Plaintiff.

          Plaintiff relies on Maryland Casualty to support its assertion that a case of actual controversy

exists between themselves and Mr. Aydani. The Court finds Maryland Casualty distinguishable

from the facts before it. In Maryland Casualty, the Supreme Court held that the insurer properly


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          The Court finds no reason to analyze the requirements under Article III separately from
the requirements of the Declaratory Judgment Act, as the Supreme Court has stated in
MedImmune that they are the same requirements. In addition, because Plaintiff’s claim is made
under the Declaratory Judgment Act the Court will confine its analysis to the requirements of that
Act.

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joined the injured party as a defendant in its declaratory action, because under the law of the state,

the injured party may bring a direct action against the insurer. 312 U.S. at 273. By allowing the

injured party to be named in the declaratory action it will prevent the coverage of the policy from

being relitigated in the injured party’s direct action against the insurer. 312 U.S. at 274. The

Maryland Casualty court found that there was an actual controversy between the insurer and the

injured party, because the injured party in that case had pending litigation against the insured. Id.

If the injured party received a judgment against the insured, and that judgment went unsatisfied then

the injured party had a statutory right to sue the insured directly. That is not the case here.

       In Arkansas, an injured party has to meet the requirements of Arkansas Code section 23-89-

101(b) before they may maintain a direct action against an insurer. This section requires in part that

the injured party first obtain a judgment against the insured. If this judgment goes unsatisfied for

30 days then and only then may the injured party maintain a direct action against the insurer. See

Jarboe v. Shelter Ins. Co., 317 Ark. 395, 397, 877 S.W.2d 930, 932 (1994). Mr. Aydani has not

received a judgment against Pittman Nursery, nor will he be able to do so since the Aydani Litigation

was dismissed with prejudice by the Circuit Court of Columbia County, Arkansas. Therefore, Mr.

Aydani will not be able to maintain a direct action against Plaintiff regarding the coverage of Pittman

Nursery’s insurance policy, because he cannot meet the requirements of Arkansas Code section 23-

89-101(b). Without Mr. Aydani being able to maintain a cause of action against Plaintiff, there is

no case of actual controversy here.

       Plaintiff alleges that they are unaware of whether the settlement agreement between Mr.

Aydani and Pittman Nursery released any potential claims Mr. Aydani may have against Plaintiff.

However, the Court notes that Plaintiff has not presented any potential claims Mr. Aydani may have


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against them. The Circuit Court of Columbia County, Arkansas dismissed the Aydani Litigation

with prejudice, resulting in Mr. Aydani being unable to refile any of the claims made in that

litigation. Thus, Mr. Aydani will not be able to obtain the requisite judgment against Pittman

Nursery in order to file a direct action against Plaintiff under Pittman Nursery’s insurance policy.

                                          CONCLUSION

        Therefore, the Court, considering all the facts alleged by Plaintiff in its Second Amended

Complaint as true, finds that Plaintiff has not proffered “enough facts to state a claim to relief that

is plausible on its face.” Bell Atlantic Corp., 550 U.S. at 570. Because Mr. Aydani could not

maintain a direct action against Plaintiff, there is no substantial controversy between the parties, and

the parties have no adverse legal interests. Thus, no “justiciable controversy” exists between Mr.

Aydani and Plaintiff. For the above reasons, Separate Defendant, Dawood Aydani’s Motion to

Dismiss is GRANTED.

        IT IS SO ORDERED, this 27th day of October, 2009



                                                                        /s/ Harry F. Barnes
                                                                        Hon. Harry F. Barnes
                                                                        United States District Judge




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